                    Case 1:18-cv-00719-CCR         Document 1-12                                 Filed 06/28/18                                    Page 1 of 1
                                          Police Checkpoints - Buffalo, NY
                                             January 2013 - June 2017
Number of police checkpoints,
by census tract
         0 - 10

         10 - 20

         20 - 65

         65 - 150

         More than 150*

         No Data Provided

         Population > 50% black or Latino                                                                                                                                      ue
                                                                                                                                                                         ven
                                                                                                                                                                  to   nA



                                                        et
                                                                                                                                                        si   ng

                                                     Grant Stre
91.4% of all checkpoints were in                                                                                                                    Ken
majority black or Latino census tracts.
*The three tracts in this category account                                                                                                            E. D elavan Avenue
for 38.3% of all checkpoints reported.
Each of these tracts has a population                             W. Ferry Street
that is more than 85% black or Latino.                                                                                                                E. Ferry Stre et
                                                                       Elmwood Avenue


                                                                                                t
                                                                                          Stree
                                                                                        M ai n




                                                                                                                        e   et
                                                                                                                 e   Str




                                                                                                                                                                                Bailey Avenue
                                                                                                         n   ese
                                                                                                    Ge

                                                                                                                                 Fillmore Avenue




                      © 2018                                                                                            Sources: Checkpoint and U.S. Census demographic data,
                      www.neweconomynyc.org                                                                     provided by National Center for Law and Economic Justice (2018)
